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                        Counsel for Defendant Meta Platforms, Inc.
                   15
                                                   UNITED STATES DISTRICT COURT
                   16
                                                NORTHERN DISTRICT OF CALIFORNIA
                   17
                                                        SAN FRANCISCO DIVISION
                   18
                        RICHARD KADREY, et al.,                        Case No. 3:23-cv-03417-VC-TSH
                   19
                           Individual and Representative Plaintiffs,   DECLARATION OF KATHLEEN HARTNETT
                   20                                                  IN SUPPORT OF RESPONSE TO MOTION FOR
                               v.                                      RELIEF FROM NONDISPOSITIVE PRETRIAL
                   21                                                  ORDER OF MAGISTRATE JUDGE (DKT. 125)
                        META PLATFORMS, INC., a Delaware
                   22   corporation;
                                                                       Trial Date: None
                   23                                   Defendant.     Date Action Filed: July 7, 2023
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COOLEY LLP
ATTORNEYS AT LAW                                                                       DECLARATION OF K. HARTNETT
                                                                                 ISO RESPONSE TO MOTION FOR RELIEF
                                                                                              3:23-CV-03417-VC-TSH
                          Case 3:23-cv-03417-VC Document 216-1 Filed 10/04/24 Page 2 of 2



                    1               I, Kathleen Hartnett, declare:

                    2               1.     I am a Partner at the law firm of Cooley LLP and counsel to Meta Platforms, Inc. in

                    3   the above-referenced matter. I have personal knowledge of the facts contained in this Declaration

                    4   and, if called as a witness, could competently testify to them under oath.

                    5               2.     On August 22, 2024, Magistrate Judge Hixson issued a Discovery Order

                    6   (“Discovery Order”), which found that certain communications between former Meta employee

                    7   Tim Dettmers and members of EleutherAI that took place on Discord (the “Subject

                    8   Communications”) were privileged and that Meta had not waived the privilege. Judge Hixson

                    9   further ordered that Plaintiffs cannot use the Subject Communications and must return them to Meta

                   10   or destroy them.

                   11               3.     On August 23, 2024, I sent a letter to LinkedIn, enclosing the Discovery Order and

                   12   requesting that LinkedIn remove content posted by an individual located outside the United States

                   13   on LinkedIn that attach screenshots of the Subject Communications (the “LinkedIn Content”).

                   14               4.     On September 11, 2024, I received a response from in-house counsel at LinkedIn

                   15   informing me that her internal team decided not to remove the LinkedIn Content, as the Discovery

                   16   Order was not directed at LinkedIn and the content does not otherwise violate LinkedIn’s content

                   17   policies. LinkedIn’s counsel suggested that Meta contact the individual who posted the content

                   18   directly to remove the content.

                   19               5.     Attached hereto as Exhibit A is an excerpt from the transcript of the August 22,

                   20   2024 hearing before Magistrate Judge Hixson, which immediately preceded the Discovery Order.

                   21   Relevant portions of the transcript have been highlighted for the Court’s ease of reference.

                   22               I declare under penalty of perjury that the foregoing is true and correct. Executed on this

                   23   4th day of October 2024 at Oakland, California.

                   24

                   25                                                            ______________________
                                                                                 Kathleen Hartnett
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COOLEY LLP
ATTORNEYS AT LAW                                                                                 DECLARATION OF K. HARTNETT
                                                                             1             ISO RESPONSE TO MOTION FOR RELIEF
                                                                                                        3:23-CV-03417-VC-TSH
